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 7                           UNITED STATES BANKRUPTCY COURT
 8                                       DISTRICT OF ARIZONA
 9    In Re:                                        Chapter 13
10    Rudolph Krahenbuhl, II,                       Case No.: 2:17-bk-08391-BKM
11
                        Debtor.                     NOTICE OF HEARING RE: OBJECTION
12                                                  TO CONFIRMATION

13

14      NOTICE IS HEREBY GIVEN that a Hearing on Toyota Motor Credit Corporation’s
15    Objection to Confirmation of Debtor’s First Amended Chapter 13 Plan will be held before the
16    Honorable Brenda K. Martin at the United States Bankruptcy Court, 7th Floor, Courtroom
17    No.701, 230 N. First Avenue, Phoenix, Arizona.
18
               DATE: January 31, 2018
19
               TIME: 11:00 AM
20

21             DATED: January 10, 2018                           N EELEY L AW F IRM , PLC
22

23                                                               /s/ Kenneth L. Neeley
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